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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA


MERCER                                                                 CIVIL ACTION

VERSUS                                                                 19-442-SDD-SDJ

SOONG, ET AL.

                                          RULING

        The Court, after carefully considering the Motion,1 the record, the law applicable to

this action, and the Report and Recommendations2 of United States Magistrate Judge

Scott D. Johnson, dated September 25, 2020, to which no objection has been filed,

hereby approves the Report and Recommendations of the Magistrate Judge and adopts

it as the Court’s opinion herein.

        ACCORDINGLY, the Motion to Dismiss3 is hereby GRANTED and Plaintiff’s

claims against Defendant Folse are hereby dismissed with prejudice.

        IT IS FURTHER ORDERED that the Court declines to exercise supplemental

jurisdiction in connection with Plaintiff’s potential state law claims and this matter is

dismissed in its entirety.

        Judgment will be entered accordingly.

        Signed in Baton Rouge, Louisiana the 21st day of October, 2020.



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                                      CHIEF JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA


1
  Rec. Doc. 59.
2
  Rec. Doc. 71.
3
  Rec. Doc. 59.
